B. D. Phillips, Petitioner, et al., 1 v. Commissioner of Internal Revenue, RespondentPhillips v. CommissionerDocket Nos. 9300, 9301, 9302, 9303, 9304, 9305, 9306, 9307, 9309United States Tax Court8 T.C. 1286; 1947 U.S. Tax Ct. LEXIS 172; June 26, 1947, Promulgated *172 Decisions will be entered under Rule 50.  In 1938 and 1939 Pennsylvania Corporation made distributions to its shareholders and claimed credits for dividends paid. Upon an audit in 1940 of Pennsylvania Corporation's returns for 1938 and 1939 portions of the dividends paid credit claimed for those years were disallowed on the ground that the distributions had been made in excess of its accumulated earnings or profits.  In 1941 a closing agreement on Form 866 as to final determination of the amount of tax liability of Pennsylvania Corporation for the years 1938 and 1939 was duly executed and approved.  The liability determined and set forth in the closing agreement was the exact amount determined by respondent upon the audit of Pennsylvania Corporation's returns for 1938 and 1939.  Held, the closing agreement covered only the amount of tax liability of Pennsylvania Corporation for the years 1938 and 1939, without regard to any specific matters or methods used in computing the amount of such tax liability, and it was not an agreement affecting the actual amount of any accumulated earnings or profits available for dividends in 1941.  Sidney B. Gambill, Esq., and Rolland L. Ehrman, Esq., for the petitioners.Stanley L. Drexler, Esq., for the respondent.  Harron, Judge.  HARRON *1287  Respondent determined deficiencies in income tax as follows:DocketYearDeficiencyPetitionerNo.B. D. Phillips93001940$ 15,946.53194139,583.18T. W. Phillips, Jr9301194122,965.36Thomas W. Phillips III930219411,207.43Roger S. Phillips930319411,239.56Idell H. Phillips93041941811.52Margaret Phillips Succop930519411,196.37Estate of Alma J. S. Phillips, deceased930619413,099.66Estate of Undine C. Phillips, deceased93071941918.01Ruth Phillips Bisiker93091941942.70*174  The deficiencies for 1941 result from respondent's determination that distributions which each of the petitioners received in 1941 from Pennsylvania Investment &amp; Real Estate Corporation came from accumulated earnings or profits of the corporation so as to constitute dividends within the meaning of section 115 (a) of the Internal Revenue Code.  The parties, however, have presented for decision a preliminary question involving the effect of a closing agreement under section 3760 of the Internal Revenue Code, covering income tax liability of Pennsylvania Investment &amp; Real Estate Corporation for the years 1938 and 1939.  Pennsylvania Investment &amp; Real Estate Corporation acquired assets from another corporation, T. W. Phillips Gas &amp; Oil Co., in 1928 pursuant to a tax-free reorganization. The one issue now to be decided, and it is common to all of the petitions, is whether the closing agreement covering the income tax liability of Pennsylvania Investment &amp; Real Estate Corporation for the years 1938 and 1939 precludes an independent determination of the amount, if any, of the accumulated earnings or profits which the Pennsylvania Investment &amp; Real Estate Corporation acquired from T. W. *175  Phillips Gas &amp; Oil Co., under the nontaxable reorganization in 1928.In Docket No. 9300 the respondent included in taxable income for the year 1940 income from trusts in the amount of $ 21,384.  It was *1288  alleged in the petition that this determination of the respondent was in error.  At the trial the petitioner conceded this issue.  Two other allegations of error were made in the petition which related to the year 1940.  At the trial petitioner waived these two issues.  Accordingly, petitioner does not now contest the determination of the respondent for the year 1940, so that there is a deficiency in income tax for the year 1940 in the amount of $ 15,946.53 in Docket No. 9300.In the petition in Docket No. 9300, the petitioner alleged that the respondent erred in including in taxable income for 1941 income from trusts in the amount of $ 21,528.  At the trial petitioner conceded this issue.  Another issue was raised in the petition relating to dividends received from Kennecott Copper Co.  The parties have stipulated that the distribution from Kennecott Copper Co. is taxable to the petitioner for the year 1941 to the extent of $ 1,345, and that the distribution is nontaxable*176  to the extent of $ 280.  Effect will be given to the stipulation and the concessions of petitioner relating to income tax liability for the year 1941 under Rule 50.In Docket No. 9301, the petitioner claimed deduction of $ 12,350.32, attorneys' fees and expenses for the year 1941.  Respondent now concedes that this deduction is allowable.  Also, respondent has stipulated with petitioner that the distribution in 1941 on Kennecott Copper Co. stock is taxable to the extent of only $ 5,379.98, and that $ 1,120.02 of the distribution is nontaxable. Effect will be given under Rule 50 to these stipulations.The income tax returns of the several petitioners were filed with the collector for the twenty-third collection district of Pennsylvania, at Pittsburgh.FINDINGS OF FACT.In each docket, the parties have stipulated certain facts.  The stipulations are incorporated herein by this reference and are adopted as findings of fact.The individual petitioners reside in Butler, Pennsylvania.  The decedent, Alma J. S. Phillips, died on January 4, 1945, a resident of Penn Township, Butler County.  The Union Trust Co. of Butler, Hazel Frazier, T. W. Phillips, Jr., and A. C. Succop are the appointed*177  and acting executors of her estate.  The decedent, Undine C. Phillips, died on May 15, 1934, a resident of Butler, Pennsylvania.  B. D. Phillips is the administrator of her estate.All of the petitioners keep their books and file their tax returns on the cash basis.During 1941 petitioners received distributions from the Pennsylvania Investment &amp; Real Estate Corporation, a personal holding company of which they were stockholders, in the following amounts: *1289 B. D. Phillips$ 28,319.40T. W. Phillips, Jr18,922.40Thomas W. Phillips III1,917.00Roger S. Phillips1,907.00Idell H. Phillips1,800.00Margaret Phillips Succop1,899.00Estate of Alma J. S. Phillips5,400.00Estate of Undine C. Phillips1,800.00Ruth Phillips Bisiker1,980.00The Pennsylvania Investment &amp; Real Estate Corporation is referred to hereinafter as Pennsylvania Corporation.Pennsylvania Corporation was incorporated under the laws of the State of Delaware, on December 19, 1928.  During the years 1936 through 1941 it was a personal holding company as defined by the respective revenue acts and the Internal Revenue Code.During 1941 Pennsylvania Corporation made distributions to its stockholders*178  totaling $ 108,000.  The amounts which have been set forth above were the proportionate shares of the individuals named in the total distribution of $ 108,000.After the incorporation of Pennsylvania Corporation all of the capital stock of Pennsylvania Corporation, consisting of 60,000 shares, was issued to T. W. Phillips Gas &amp; Oil Co. for certain assets of the latter company, in accordance with a nontaxable reorganization under the then existing revenue act. The 60,000 shares of Pennsylvania Corporation were distributed by the T. W. Phillips Gas &amp; Oil Co. to its shareholders on a share for share basis, the oil company also having 60,000 shares of its capital stock outstanding at the date of the reorganization.The earnings realized by Pennsylvania Corporation from the date of its incorporation in 1928 through the taxable year ended December 31, 1940, were substantially less than the distributions made by the corporation to its stockholders during this period.  In the year 1941 Pennsylvania Corporation suffered a net loss from operations and realized no earnings.Pennsylvania Corporation reported net income for the years 1938 and 1939 in the respective amounts of $ 82,563.61 and *179  $ 80,638.75.  On its returns the company claimed dividends paid credits of $ 90,598.33 for 1938 and $ 77,617.16 for 1939.The income tax and surtax on personal holding company income shown to be due on the returns filed by Pennsylvania Corporation for the years 1938 and 1939 were as follows:1938 Income tax$ 5,157.75Surtax on personal holding company income1939 Income tax3,228.69Surtax on personal holding company income*1290  Upon an audit in 1940 of Pennsylvania Corporation's returns for 1938 and 1939 the sums of $ 50,126.64 and $ 8,617.16 of the dividends paid credit claimed for the respective years 1938 and 1939 were disallowed.  The report of the revenue agent submitted to Pennsylvania Corporation explained the disallowance on the ground that distributions had been made in excess of Pennsylvania Corporation's accumulated earnings or profits and that such distributions did not constitute taxable dividends includible in the dividends paid credit.Pursuant to the audit, the tax liabilities of Pennsylvania Corporation for the years 1938 and 1939 were determined to be as follows:1938 Income tax$ 6,344.03Surtax on personal holding company income27,089.561939 Income tax3,461.95Surtax on personal holding company income5,952.98*180  Upon the audit of Pennsylvania Corporation's returns for 1938 and 1939, Pennsylvania Corporation's surplus account was credited with the sum of $ 472,578.82, representing an entry for bonds and stocks acquired on December 24, 1928, from the T. W. Phillips Gas &amp; Oil Co. at amounts equal to the transferor's basis rather than at market value of the securities on the date acquired.On December 4, 1940, Pennsylvania Corporation submitted to respondent a closing agreement as to final determination of tax liability on Form 866, agreeing to the amounts of tax for the years 1938 and 1939 as adjusted by respondent on the audit. In submitting the closing agreement Pennsylvania Corporation indicated that it wished to obtain approval of the agreement at an early date, since it desired to pay deficiency dividends under section 407 (c) of the Revenue Act of 1938 (and section 506 of the Internal Revenue Code), relating to deficiency dividend credits against unpaid deficiencies for personal holding companies.On December 27, 1940, respondent forwarded to Pennsylvania Corporation a revised closing agreement covering Pennsylvania Corporation's income and surtax liability for the years 1938 and 1939, *181  which was substantially the same as the one originally submitted to respondent by Pennsylvania Corporation, with the exception that the revised agreement set forth the titles of the acts under which the taxes were imposed.  The revised closing agreement was executed by Pennsylvania Corporation on December 30, 1940, and by respondent on March 8, 1941, and was approved by the Acting Secretary of the Treasury on March 18, 1941.The closing agreement entered into between Pennsylvania Corporation and respondent is as follows:Form 866 -- * * *Agreement as to Final Determination of Tax Liability* * * **1291  Whereas, there has been a determination of the tax liability of said taxpayer in respect of internal revenue taxes, exclusive of any penalty or interest properly applicable thereto as provided by law, in the sums and for the taxable periods indicated below:Title Number and Revenue Act orPeriodCharacter of TaxChapter Number and SubchapterAmount ofLetter of I. R. C.taxCal. Yr. 1938IncomeI, 1938 Act$ 6,344.03Cal. Yr. 1938Excess ProfitsIII, 1938 Actnone&nbsp;&nbsp;&nbsp;Cal. Yr. 1938Surtax, Sec. 401,IA, 1938 Act$ 27,089.56Cal. Yr. 1939Income1, I. R. C.$ 3,461.95Cal. Yr. 1939Excess Profits2B, I. R. C., as Am'd.none&nbsp;&nbsp;&nbsp;Cal. Yr. 1939Surtax, Sec. 500,2A, I. R. C., as Am'd.$ 5,952.98*182  Now, This Agreement Witnesseth, that the said taxpayer and said Commissioner of Internal Revenue hereby mutually agree that such liability so determined shall be final and conclusive (subject, however, to the provisions of section 3801 of the Internal Revenue Code) if this agreement is approved by the Secretary of the Treasury, the Under Secretary, or an Assistant Secretary, within one year from the date this agreement is signed by the taxpayer.* * * *In 1941, shortly after the approval of the closing agreement by the Acting Secretary of the Treasury, Pennsylvania Corporation paid the additional tax liability determined therein in the amount of $ 34,462.08, plus interest.  No part of this amount has since been refunded to Pennsylvania Corporation.  The stockholders of Pennsylvania Corporation have filed no refund claims for 1938 and 1939.Pennsylvania Corporation did not obtain the closing agreement by fraud, malfeasance, or misrepresentation of a material fact.Pennsylvania Corporation did not within one year after the enactment of section 186 (g) of the Revenue Act of 1942 file a claim for the benefit of that section.  The stockholders of Pennsylvania Corporation, subsequent to*183  the enactment of section 186 (g) of the Revenue Act of 1942, did not file consents agreeing to the inclusion of the 1941 distributions to them from Pennsylvania Corporation in their gross income as taxable dividends.No earnings of T. W. Phillips Gas &amp; Oil Co. have been entered on the books of Pennsylvania Corporation as the result of the 1928 nontaxable reorganization.The closing agreement between respondent and Pennsylvania Corporation, executed on Form 866, was an agreement as to final determination of tax liability of Pennsylvania Corporation and was not an agreement as to any specific matters or methods used in computing the amount of such tax liability.OPINION.Respondent determined that the distributions which each of the petitioners received in 1941 from Pennsylvania*1292  Investment &amp; Real Estate Corporation were taxable as dividends under section 115 (a) of the Internal Revenue Code.  The ultimate question is whether the distributions were made from earnings or profits of the corporation accumulated after February 28, 1913.  Pennsylvania Investment &amp; Real Estate Corporation had no current earnings in 1941 and the parties are agreed that it had no accumulated earnings*184  or profits of its own.  Respondent contends that under the rule of Commissioner v. Sansome, 60 Fed. (2d) 931, Pennsylvania Corporation acquired accumulated earnings from T. W. Phillips Gas &amp; Oil Co. in the nontaxable reorganization which took place in 1928.  Petitioners contend, however, that an independent determination of the amount, if any, of the accumulated earnings or profits which the Pennsylvania Corporation acquired from T. W. Phillips Gas &amp; Oil Co. is precluded by reason of the execution of a closing agreement under section 3760 of the Internal Revenue Code covering the income tax liability of Pennsylvania Corporation for the years 1938 and 1939.In the years 1938 and 1939 Pennsylvania Corporation made distributions to its shareholders and claimed credits for dividends paid. Upon an audit in 1940 of Pennsylvania Corporation's returns for 1938 and 1939, portions of the dividends paid credit claimed for those years were disallowed.  The disallowance was explained on the ground that the distributions had been made in excess of Pennsylvania Corporation's accumulated earnings or profits and did not constitute taxable dividends includible in*185  the dividends paid credit.  Thereafter a closing agreement on Form 866 as to final determination of tax liability of Pennsylvania Corporation for the years 1938 and 1939 was entered into between the corporation and respondent, whereby the parties mutually agreed that the tax liability of Pennsylvania Corporation for the years 1938 and 1939 as determined and set forth in the agreement was to be final and conclusive, subject, however, to the provisions of section 3801 of the Internal Revenue Code.  The liability so determined and set forth in the closing agreement was the exact amount determined by respondent upon the audit of Pennsylvania Corporation's returns for 1938 and 1939.Petitioners contend that, although the closing agreement recites merely that the parties have agreed to a final amount of tax liability for the years 1938 and 1939, the computation of that tax liability involved a recognition by respondent that Pennsylvania Corporation had no accumulated earnings, Sansome or otherwise, since portions of dividends paid credit were disallowed for this reason; and that, since Pennsylvania Corporation accumulated no earnings after 1939, it follows that in the taxable year 1941*186  it also had no accumulated earnings from which dividends could be paid.Respondent, on the other hand, contends that the agreement merely closed the tax liabilities of Pennsylvania Corporation for the years *1293  1938 and 1939 and that the methods or elements used in arriving at such final amounts of tax liabilities are in no way binding upon the parties.  In short, respondent claims that the closing agreement as to the final determination of tax liability of Pennsylvania Corporation for the years 1938 and 1939 was not a final determination conceding forever that Pennsylvania Corporation inherited no accumulated earnings or profits from T. W. Phillips Gas &amp; Oil Co. in the nontaxable reorganization under the rule of the Sansome case.At the hearing, the parties agreed to postpone proof of the amount, if any, of accumulated earnings or profits which Pennsylvania Corporation acquired from T. W. Phillips Gas &amp; Oil Co., pending decision on the effect of the closing agreement. The question to be decided at the present stage of the proceedings, therefore, is whether the closing agreement covered only the amount of tax liability of the Pennsylvania Corporation for the years 1938*187  and 1939, without regard to any specific matters or methods used in computing the amount of such tax liability, or whether it was also a specific agreement that Pennsylvania Corporation acquired no accumulated earnings or profits from T. W. Phillips Gas &amp; Oil Co. in the nontaxable reorganization in 1928.The closing agreement was entered into in accordance with section 3760 of the Internal Revenue Code.  The provisions of section 3760 are set forth in the margin.  2 In brief, the section authorizes the Commissioner and the taxpayer to enter into an agreement relating to the tax liability of the taxpayer which, except for fraud, malfeasance, or misrepresentation of a material fact, shall be final and conclusive as to the matters agreed upon.  As shown by the regulations, the matter agreed upon may relate to the total tax liability of the taxpayer, or it may relate to one or more separate items affecting the tax liability of the taxpayer, as, for example, the value of property on a specified date, or the cost basis of shares of stock, some of which may be sold in one year and others in future years.  Regulations 103, Appendix par. 47.  At least since 1934 the Treasury has had two forms*188  on which closing agreements may be executed.  XIII-1 *1294  C. B. 162.  Form 866, which was used in the instant case, relates to the total tax liability of the taxpayer, and, as set forth in the findings, merely states that the taxpayer and Commissioner mutually agree that the amount of tax liability which is set forth in the agreement shall be final and conclusive. The other form on which a closing agreement may be executed is Form 906, which relates to a final determination covering specific matters and provides that the Commissioner and the taxpayer mutually agree that the matters so determined and set forth on the form shall be final and conclusive.*189 The purpose of the statute in providing for closing agreements as to final determination of tax liability was to enable the taxpayer and the Government finally and completely to settle all controversies in respect of the tax liability for a particular year or years, and to protect the taxpayer against a further demand by the reopening of a case as a result of a different view of the matter being taken by the Government officers, or as the result of subsequent court decisions prior to the expiration of the statute of limitations, and to prevent the filing of additional claims for refund or the institution of suit by the taxpayer for the same reasons.  Wolverine Petroleum Corporation v. Commissioner, 75 Fed. (2d) 593, affirming 29 B. T. A. 1236; Bankers' Reserve Life Co. v. United States, 42 Fed. (2d) 313.In some instances a closing agreement on Form 866, relating to the final determination of tax liability, is entered into when the taxpayer and the Government have made mutual concessions, a sort of give and take affair, in the settlement of disputed issues.  Under such circumstances there*190  is no intention of making binding commitments as to the correct treatment of the various items.  The parties are only concerned with the final amount of tax liability.  In any event, it has become settled that when the parties agree as to the final determination of tax liability for a particular year the methods or elements used in arriving at such final amount of liability are in no way binding upon the parties for other tax years.  This rule was expressed in Smith Paper Co., 31 B. T. A. 28; affd., 78 Fed. (2d) 163, as follows:These agreements, authorized only, as in the present case, by the Commissioner, with the approval of the Secretary of the Treasury, are localized and limited in their operations by the statute, through which, alone, they are possible, to tax liabilities for definite periods covered therein.  Neither the cited statutory provision permitted nor the instruments executed thereunder here included any agreement binding either party thereto to recognize any element necessary to the computation of a tax liability for 1928, and thus permit the perpetuation of a palpable error.  The present agreements closed *191  certain tax liabilities for periods within 1927 and nothing else.  The method used in computing the amounts of these liabilities for that year, whether proper or otherwise, could not and did not conclude the respondent in his computation of these disputed tax liabilities for 1928.  W. C. Mitchell Co., 27 B. T. A. 645; Alabama Mineral Land Co., 28 B. T. A. 586; Phoenix Ins. Co., 29 B. T. A. 291; Wolverine Petroleum Co., 29 B. T. A. 1236 The contested deficiencies are approved.*1295  See also, W. C. Mitchell Co., 27 B. T. A. 645; and Alabama Mineral Land Co., 28 B. T. A. 586. 3*192  We are unable to find in the record in this case any basis for distinguishing this case from the Mitchell, Alabama, and Smith cases cited above.  The determinations which the respondent made upon audit of Pennsylvania Corporation's returns for 1938 and 1939 resulted in deficiencies in income tax and surtax on personal holding company income for both years.  Pennsylvania Corporation accepted the respondent's determinations and submitted a closing agreement on Form 866 for the express purpose of securing final determinations for 1938 and 1939 in order that, as a personal holding company, it could receive the deficiency dividend credit allowed by section 407 of the 1938 Revenue Act and section 506 of the Internal Revenue Code.  Under those sections, such credit was allowable if the amount of the deficiency had been established by a closing agreement. The evidence shows clearly that the respondent, in executing the closing agreement, was not considering the existence of any accumulated earnings, under the rule of the Sansome case, or otherwise, but was agreeing to close the amount of the corporation's tax liability for 1938 and 1939 so that the corporation might take advantage*193  of the deficiency dividends credit allowed personal holding companies.  Thus, both Pennsylvania Corporation and respondent understood and intended that the closing agreement was only an agreement settling the corporation's tax liability for 1938 and 1939.Petitioners seek to distinguish this case from the Mitchell, Smith, and Alabama cases on several grounds.  The arguments have been considered, but we find all of them to be ineffective.  The chief argument is that the original claim of Pennsylvania Corporation for a dividends paid credit in 1938 and 1939 was disallowed upon respondent's conclusion that capital and not dividends had been distributed *1296  to the shareholders; that such conclusion was based upon a holding that the corporation had no accumulated earnings or profits; and that this conclusion must be binding upon the respondent in subsequent years.  The question of whether the corporation had inherited accumulated earnings from T. W. Phillips Gas &amp; Oil Co. under the rule of the Sansome case was never a subject of determination or discussion in any communication between the parties in connection with the closing agreement. Had Pennsylvania Corporation*194  wanted a determination made upon this matter, it could have requested it and specifically agreed with the respondent on such matter.  It did not do so.  Both of the parties may have overlooked the factor that earnings or profits might have been inherited from Phillips Gas &amp; Oil Co. in the tax-free reorganization in 1928, under the Sansome case doctrine.  If so, that does not now preclude respondent from taking such inherited earnings, if they exist, into consideration for the purpose of computing the respective tax liabilities of the corporation and of its stockholders for the year 1941.  In the Mitchell case, the taxpayer overlooked the fact that it had a net loss when it had entered into a closing agreement, but that fact, as a factor, could be considered, nevertheless, in determining tax liability for a later year.  Or, if the doctrine of the Sansome case as applied to the 1928 reorganization, was considered sub silentio when the closing agreement was made, nevertheless that factor was not a matter agreed upon in the closing agreement so as to be binding on future years.  In the Mitchell, Smith, and Alabama cases, the computation of the amount of the tax*195  liability agreed upon under closing agreements disregarded the existence or nonexistence of important factors, and that is equally true of the closing agreement involved in this case.  The closing agreement which was executed in 1941 is entirely devoid of any language evidencing agreement upon any such specific factor as the carrying over of accumulated earnings from Phillips Gas &amp; Oil Co., or any matter other than the amount of Pennsylvania Corporation's tax liability for 1938 and 1939.Petitioners also advanced the argument that respondent is estopped from his present determination because of his earlier determination denying the dividends paid credit for 1938 and 1939 on the ground that the corporation did not have earnings. The only fact upon which petitioners rely for estoppel is the execution of the closing agreement. This argument is no more than an indirect attempt to take the issue outside the rule of the above cited cases.  The record before us gives no basis for working an estoppel against the respondent.On authority of the Mitchell, Alabama, and Smith cases, supra, respondent's contention with respect to the effect of the closing agreement is sustained. *196  Our conclusion is that the closing agreement was not an agreement upon the fact of the existence or nonexistence of *1297  earnings carried over from Phillips Gas &amp; Oil Co. under the doctrine of the Sansome case.  It follows that the closing agreement does not preclude an independent determination of the amount, if any, of any accumulated earnings which Pennsylvania may have acquired from Phillips Gas &amp; Oil Co. for purposes of determining 1941 tax liability.It remains for petitioners to undertake to offer evidence at further hearing upon the matter, and they may file motion for further hearing in these proceedings.  Such motion should be filed within 30 days from the date of promulgation of this report.  In the event motion for further hearing is filed and granted, entry of decisions will be withheld.  In any event,Decisions will be entered under Rule 50.  Footnotes1. Proceedings of the following petitioners are consolidated herewith: T. W. Phillips, Jr., Docket No. 9301; Thomas W. Phillips III, Docket No. 9302; Roger S. Phillips, Docket No. 9303; Idell H. Phillips, Docket No. 9304; Margaret Phillips Succop, Docket No. 9305; Estate of Alma J. S. Phillips, Deceased, Docket No. 9306; Estate of Undine C. Phillips, Deceased, Docket No. 9307; Ruth Phillips Bisiker, Docket No. 9309.↩2. SEC. 3760. CLOSING AGREEMENTS.(a) Authorization.  -- The Commissioner (or any officer or employee of the Bureau of Internal Revenue, including the field service, authorized in writing by the Commissioner) is authorized to enter into an agreement in writing with any person relating to the liability of such person (or of the person or estate for which he acts) in respect of any internal revenue tax for any taxable period.(b) Finality.  -- If such agreement is approved by the Secretary, the Under Secretary, or an Assistant Secretary, within such time as may be stated in such agreement, or later agreed to, such agreement shall be final and conclusive, and except upon a showing of fraud or malfeasance, or misrepresentation of a material fact --(1) The case shall not be reopened as to the matters agreed upon or the agreement modified, by any officer, employee, or agent of the United States, and(2) In any suit, action, or proceeding, such agreement, or any determination, assessment, collection, payment, abatement, refund, or credit made in accordance therewith shall not be annulled, modified, set aside, or disregarded.↩3. In W. C. Mitchell Co. the parties in 1929 entered into a closing agreement relating to the tax liability of the taxpayer for the fiscal year ended June 30, 1927.  The taxpayer had reported no taxable income for 1927, the Commissioner had determined a deficiency of approximately $ 1,500, and in the closing agreement the parties agreed that the tax liability was approximately $ 93, which was based on a net income of about $ 2,700.  For the fiscal year 1928, however, the taxpayer contended that it had overlooked a bad debt deduction in 1927 which would have offset its 1927 income and would have given it a loss for 1927 which it could have carried over to 1928.  We held that the taxpayer was not foreclosed by reason of the closing agreement from introducing proof of the alleged net loss sustained in 1927 and applicable to the taxpayer's tax liability for 1928.In Alabama Mineral Land Co↩., the parties entered into a closing agreement in 1929 fixing the taxpayer's tax liability for the year 1927.  In the determination of the liability so settled for 1927 an operating net loss of some $ 16,000 sustained in 1927 was given consideration.  In respondent's deficiency letter to the taxpayer for the year 1928, respondent held that no net loss had been sustained in 1927, so that the taxpayer was not entitled to a net loss carry-over.  The taxpayer contended that the closing agreement for 1927 conclusively established that it had sustained the operating loss of $ 16,000 in 1927, and that such agreement could not be disregarded for purposes of the tax year 1928.  We rejected this contention, holding that the closing agreement was binding only as to the actual amount of tax liability for 1927 and not as to the methods and elements which went into determining the amount of such liability in so far as they affected other years